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                   UNITED STATES DISTRICT COURT FOR THE
                         DISTRICT OF NEW HAMPSHIRE


United States of America

             v.                            Criminal N o . 09-cr-178-02-JD

Peter Kavalchuk


                                   O R D E R


       The assented to motion to reschedule jury trial (document n o .

104)    filed by defendant is granted.         A conference with the court

shall be scheduled for the first week in July. Trial is continued

as to Peter Kavalchuk           as well as the co-defendants, as they

assented to the continuance, to the two-week period beginning July

1 9 , 2011, 9:30 AM.

       Defendant shall file a waiver of speedy trial rights within 10

days. The court finds that the ends of justice served by granting

a continuance outweigh the best interest of the public and the

defendant in a speedy trial, 18 U.S.C. § 3161(h)(7)(B)(iv), for the

reasons set forth in the motion.

       SO ORDERED.



                                           /s/ Joseph A. DiClerico, Jr.
                                           Joseph A . DiClerico, Jr.
                                           United States District Judge

Date:    May 6, 2011

cc:    Steven Gordon, Esq.
       William Christie, Esq.
       Richard Monteith, Esq.
       Arnold Huftalen, Esq.
       Robert Rabuck, Esq.
       Seth Aframe, Esq.
       U.S. Marshal
       U.S. Probation
